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                     EXHIBIT 5B




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 7

 8
                                 UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                           SAN JOSE DIVISION
11

12
     APPLE INC., a California corporation,
13
                   Plaintiff,
14                                                  CASE NO. 12-CV-00630-LHK
            v.
15
   SAMSUNG ELECTRONICS CO., LTD., a                 DECLARATION OF CARY CLARK
16 Korean corporation; SAMSUNG
   ELECTRONICS AMERICA, INC., a New                 FILED UNDER SEAL
17 York corporation, and SAMSUNG
   TELECOMMUNICATIONS AMERICA,                      HIGHLY CONFIDENTIAL –
18 LLC, a Delaware limited liability company,       ATTORNEYS’ EYES ONLY
19                 Defendants.                      CONFIDENTIAL BUSINESS
                                                    INFORMATION OF NON-PARTY
20 SAMSUNG ELECTRONICS CO., LTD., a                 GOOGLE INC.
   Korean corporation; SAMSUNG
21 ELECTRONICS AMERICA, INC., a New
   York corporation, and SAMSUNG
22 TELECOMMUNICATIONS AMERICA,
   LLC, a Delaware limited liability company,
23
                 Counterclaim-Plaintiff,
24
          v.
25
   APPLE INC., a California corporation,
26
                 Counterclaim-Defendant
27

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 1 I, Cary Clark, declare as follows under 28 U.S.C. § 1746:

 2          1.      I am a software engineer for Google Inc. (“Google”). I have personal knowledge of

 3 the facts stated below, and if called to testify, I could and would testify as follows.

 4          2.      I have been employed at Google since November 2005. Between then and March

 5 2011, I worked on the Android team. As part of my work on Android, I was involved in

 6 developing some functionality of the Android Browser application, as well as the WebView

 7 framework. Although I did not work directly on version 4.0 of Android, which is also called Ice

 8 Cream Sandwich, I have reviewed the portions of the Ice Cream Sandwich source code relevant to

 9 my discussion below.

10          3.      Within Android Ice Cream Sandwich, there are many versions of Android. Some

11 versions are internal to Google; others are posted on the Android Open Source Project; still other

12 versions are used in devices sold to consumers. One device sold to consumers running a version

13 of Android Ice Cream Sandwich is the Samsung Galaxy Nexus. For the rest of this declaration, I

14 will discuss the version of Android Ice Cream Sandwich running on the Samsung Galaxy Nexus.

15 There are actually several sub-versions of Android Ice Cream Sandwich running on the Samsung

16 Galaxy Nexus, but they do not vary with regard to my descriptions below.

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 1          4.     The Android Browser displays web pages and other HTML content. On the

 2 Samsung Galaxy Nexus, the Android Browser could appear as follows if used to access

 3 http://www.google.com:

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15          5.     The Browser application is built on a WebView. WebView is a component of the
16 Android framework that provides a window containing hypertext content, typically a web page.

17 The WebView functionality is defined by the files in

18                                                               . WebKit is an open-source project
19 that provides the foundation of Safari, Chrome, and Android’s Browser, as well as many other

20 products.

21          6.     The port of WebKit for Android includes
22

23                                      . When a user views a hypertext document in the Android
24 Browser, WebView instructs CacheBuilder first to identify plain text from markup language, and

25 then to search for strings that resemble the typically used formats of phone numbers within North

26 America, email addresses, and physical street addresses within the United States.

27          7.     Upon finding a string resembling the typically used formats of phone numbers
28 within North America, email addresses, or physical street addresses within the United States,

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 1 CacheBuilder does two things. First, CacheBuilder adds the location of the found string to a list of

 2 “hot spots.” Each “hot spot” is defined as a rectangular area offset from the top left of the

 3 displayed hypertext page. The “hot spots” are invisible; they are not rendered on the device’s

 4 display.

 5          8.     Second, CacheBuilder also creates a Universal Resource Identifier (“URI”)

 6 corresponding to the found string. The URI includes the string itself, sometimes standardized to

 7 remove extraneous information, such as parentheses, dashes and spaces within telephone numbers.

 8 It also includes a prepended string depending on the type of data in the found string. For strings

 9 that resemble the typically used formats of phone numbers within North America, CacheBuilder

10 prepends a “tel:” string. For strings that resemble email addresses, CacheBuilder prepends a

11 “mailto:” string. For strings that resemble postal addresses within the United States, CacheBuilder

12 prepends a “geo:” string.

13          9.     Aside from the coordinates of the “hot spot” and the URI, CacheBuilder does not

14 record any additional information from the hypertext document itself.

15          10.    Below is a screenshot showing how the Android Browser on a Samsung Galaxy

16 Nexus could look while accessing http://www.onemarket.com:

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 1          11.    Before the Android Browser presents the above display to the user, CacheBuilder

 2 would compute the coordinates of the “hot spots” and construct the corresponding URIs for the

 3 address and phone number near the upper-right-hand corner of the screenshot.

 4          12.    When the user taps on the screen, the Android Browser calls WebView to

 5 determine if the tap is within one of the “hot spots” previously defined by CacheBuilder. If it is,

 6 the Android Browser briefly highlights the rectangular coordinates of the “hot spot” in blue. If the

 7 user taps on a string that CacheBuilder has identified as resembling a postal address within the

 8 United States, for example, the Android Browser on a Samsung Galaxy Nexus could briefly

 9 display:

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21          13.    Following this brief display, the
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23                                                       CacheBuilder will start over from the beginning,
24 re-running its attempt to identify plain text from markup language, and then to search for strings

25 that resemble the typically used formats of phone numbers within North America, email addresses,

26 and physical street addresses within the United States.

27          14.
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 3                     URLHandler creates an Intent with a type of “android.intent.action.VIEW” and

 4 a “data” field holding the URI previously generated by CacheBuilder. Regardless of whether the

 5 user taps on a string resembling the typically used formats of phone numbers within North

 6 America, email addresses, or physical street addresses within the United States, the type of the

 7 Intent is always “android.intent.action.VIEW,” and the “data” field is always the URI generated

 8 by CacheBuilder.

 9          15.    The Browser then analyzes the URI to make sure it is an appropriate URI given the

10 Browser’s security model. If the URI is acceptable from a security perspective, the Browser

11 passes the Intent to the Activity Manager by calling Context.startActivity().

12          16.    If the user long presses on the screen instead of tapping, the Android Browser calls

13 WebView to determine if the long press is within one of the “hot spots” previously defined by

14 CacheBuilder. If it is, the Android Browser will again briefly highlight the rectangular

15 coordinates of the “hot spot” in blue. Following this brief display,

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22                                                                                            , after a

23 few more steps the Android Browser will build a customized contextual menu and present this

24 menu to the user. The contents of the customized contextual menu will depend on the string found

25 by CacheBuilder.

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 1          18.     If the user long presses on a string that CacheBuilder has identified as resembling a

 2 postal address within the United States, for example, the Android Browser on a Samsung Galaxy

 3 Nexus could build the following customized contextual menu and present this menu to the user:

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15          19.     If the user selects the “Map” option, the Android Browser will proceed as if the

16 user had tapped on the “hot spot” instead of long pressing it. If the user selects the “Copy” option,

17 the Android Browser will attempt to copy the text under the rectangular coordinates of the “hot

18 spot” to the clipboard, although it is not always successful. If the user selects the “Select text”

19 option, the Android Browser treats the initial tap as starting a generic text selection, and chooses

20 the word or string of digits under the tap, ignoring the “hot spot” and whether the selection is part

21 of a found string.

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 1         20.    If the user long presses on a string that CacheBuilder has identified as resembling a

 2 typically used format of phone numbers within North America, the Android Browser on a

 3 Samsung Galaxy Nexus could briefly display:

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15         21.    Following this brief display, the Android Browser could build the following

16 customized contextual menu and present this menu to the user:

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 1          22.     If the user selects the “Dial...” option, the Android Browser will proceed as if the

 2 user had tapped on the “hot spot” instead of long pressing it. If the user selects the “Add contact”

 3 option, the Android Browser can build a different type of Intent, of type

 4 “android.intent.action.INSERT_OR_EDIT.” The Browser will then pass this Intent to the Activity

 5 Manager by calling Context.startActivity(). If the user selects the “Copy” option, the Android

 6 Browser will attempt to copy the text under the rectangular coordinates of the “hot spot” to the

 7 clipboard, although it is not always successful. If the user selects the “Select text” option, the

 8 Android Browser treats the initial tap as starting a generic text selection, and chooses the word or

 9 string of digits under the tap, ignoring the “hot spot” and whether the selection is part of a larger

10 found string.

11          23.     If the user long presses on a string that CacheBuilder has identified as resembling

12 an email address, the Android Browser on a Samsung Galaxy Nexus could briefly display:

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 1          24.     Following this brief display, the Android Browser could build the following

 2 customized contextual menu and present this menu to the user:

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14          25.     If the user selects the “Send email” option, the Android Browser will proceed as if
15 the user had tapped on the “hot spot” instead of long pressing it. If the user selects the “Copy”

16 option, the Android Browser will attempt to copy the text under the rectangular coordinates of the

17 “hot spot” to the clipboard, although it is not always successful. If the user selects the “Select

18 text” option, the Android Browser treats the initial tap as starting a generic text selection, and

19 chooses the word or string of digits under the tap, ignoring the “hot spot” and whether the

20 selection is part of a found string.

21          26.     Code implementing the functionality I have described above – including
22 CacheBuilder’s search for strings that resemble the typically used formats of phone numbers

23 within North America, email addresses, and physical street addresses within the United States;

24 CacheBuilder’s adding the location of each found string to a list of “hot spots”; CacheBuilder’s

25 creation of a URI corresponding to the found string, and the Android Brower’s creation of

26 customized contextual menus and Intents in response to taps on the “hot spots” – has been

27 available in the Android Open Source Project since April 30, 2009, when the open source version

28 of version 1.5 (cupcake) of Android was made available on the Internet.

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